JS 44 (Rev. 04/21)

purpose of initiating the civil docket sheet.

I. (a) PLAINTIFFS

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

Ellis, Shawn

   
  
 
  

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

DEFENDANTS Cabarrus Coun Sheri ORice
Klinglesmith, Kevin mM. Neiae TeoShua.

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riley.,.David of First Listed Defendant

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(IN U.S. PLAINTIFF CASES ONLY)

OF LAND INVOLVED

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

 

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U.S. Government
Plaintiff

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uw Federal Question

(U.S. Government Nat a Party)

 

  
  
   

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Incorporated or Principal Place

OF PRINCIPAL PARTIES (Pace an“ in One Box for Plaintiff

and One Box for Defendant)
PTF

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DEF

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of Business In This State

 

 

   

 

C2 U.S. Government (4 Diversity zen of Another State 2 Ee] 2 Incorporated and Principal Place Fal 5 [is
Defendant (Indicate Citizenship of Parties in rem I11) of Business In Another State
Citizen or Subject of a (13) [7] 3 Foreign Nation Ole (6
Foreign Country
IV. NATURE OF SUIT (piace an “Xx” in One Box Only) Click here for: Nature of Suit Code Descriptions.
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES.
110 Insurance PERSONAL INJURY PERSONAL INJURY 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC

|
130 Miller Act
140 Negotiable Instrument
150 Recovery of Overpayment
& Enforcement of Judgment
151 Medicare Act
152 Recovery of Defaulted
Student Loans
(Excludes Veterans)
{_] 153 Recovery of Overpayment
of Veteran's Benefits
[_] 160 Stockholders’ Suits
[_] 190 Other Contract
195 Contract Product Liability
196 Franchise

| REALPROPERTY

7

315 Airplane Product Product Liability

Liability [_] 367 Health Care/
|} 320 Assault, Libel & Pharmaceutical
Slander Personal Injury
I] 330 Federal Employers’ Product Liability
Liability C] 368 Asbestos Personal
340 Marine Injury Product
345 Marine Product Liability
Liability PERSONAL PROPERTY
350 Motor Vehicle 370 Other Fraud

= 371 Truth in Lending

{_] 380 Other Personal
Property Damage

[=I 385 Property Damage
Product Liability

355 Motor Vehicle
Product Liability

ca] 360 Other Personal

Injury

| 362 Personal Injury -

Medical Malpractice

7, CIVIL RIGHTS PRISONER PETITIONS

 

1690 Other

28 USC 157

INTELLECTUAL
PROPERTY RIGHTS

3729(a))
400 State Reapportionment
410 Antitrust

 

820 Copyrights

830 Patent

835 Patent - Abbreviated
New Drug Application

840 Trademark

:

 

LABOR
710 Fair Labor Standards

880 Defend Trade Secrets
Act of 2016

430 Banks and Banking
450 Commerce
460 Deportation
470 Racketeer Influenced and
Corrupt Organizations
480 Consumer Credit
(15 USC 1681 or 1692)
485 Telephone Consumer

 

Act
740 Railway Labor Act
| 790 Other Labor Litigation

 

210 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
|] 290 All Other Real Property

 

Habeas Corpus:
463 Alien Detainee

440 Other Civil Rights
441 Voting
442 Employment 510 Motions to Vacate

560 Civil Detainee -
Conditions of
Confinement

443 Housing/ H Sentence
Accommodations 530 General
Fy 445 Amer. w/Disabilities - 535 Death Penalty
Employment Other:
446 Amer. w/Disabilities - $40 Mandamus & Other
Other 550 Civil Rights
448 Education 1 4555 Prison Condition

 

 

| 720 Labor/Management
751 Family and Medical
| _|791 Employee Retirement

861 HIA (1395ff)

862 Black Lung (923)

863 DIWC/DIWW (405(2))
864 SSID Title XVI

865 RSI (405(g))

SOCIAL SECURITY

Protection Act
490 Cable/Sat TV
850 Securities/Commodities/
Exchange
890 Other Statutory Actions
891 Agricultural Acts

 

Relations
Leave Act
Income Security Act

[IMMIGRATION _|

 

 

FE L TAX SUITS
870 Taxes (U.S. Plaintiff
or Defendant)

[_] 871 IRS—Third Pany
26 USC 7609

 

462 Naturalization Application
465 Other Immigration
Actions

 

 

. | 893 Environmental Matters
895 Freedom of Information

899 Administrative Procedure

Act/Review or Appeal of

Agency Decision

Act

896 Arbitration

| 950 Constitutionality of
State Statutes

 

 

V. ORIGIN (Place an “X" in One Box Only)

| Original 2 Removed from 3. Remanded from fy Reinstated or i 5 Transferred from 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite the ms 43. “Us ClaeR are filing (De not cite jurisdictional statutes untess diversity):
Brief description of cause: ; 2
Fourth Amend mut Violakon

(] CHECK IF THIS IS A CLASS ACTION DEMAND § 40,400. oo CHECK YES only if demanded in complaint:

VI. CAUSE OF ACTION

 

VII. REQUESTED IN

 

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. CLSo Keyise training JURY DEMAND: Myes CINo
VIL. RELATED CASE(S) Y
IF ANY “eens SUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 

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